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                     UNITED STATES DISTRICT COURT

                            DISTRICT OF MAINE


UNITED STATES OF AMERICA            )
                                    )
                                    )
                                    )
v.                                  )            NO. 2:99-CR-79-DBH-04
                                    )
PAUL W. MOUNTS,                     )
                                    )
                  DEFENDANT         )


        ORDER ON DEFENDANT’S MOTION TO REDUCE SENTENCE


      The defendant’s motion to reduce sentence is DENIED.

      Regardless of whether Alleyne v. United States, 133 S. Ct. 2151 (2013),

can be applied retroactively, it does not help this defendant. He was sentenced

in 2000 to the statutory maximum sentence, not the minimum sentence. His

Guideline range was actually higher but, because of Apprendi v. New Jersey,

530 U.S. 466 (2000), Judge Carter concluded that his sentence was capped at

20 years. No statutory mandatory minimum was applied and thus Alleyne is of

no help to this defendant. He also cites Descamps v. United States, 133 S. Ct.

2276 (2013), and United States v. Blewett, 2013 WL 2121945 (6th Cir. May 17,

2013), but neither affects his sentence.   Descamps addressed the unrelated

question of what constitutes a “violent felony” under the Armed Career

Criminal Act. Blewett held that defendants who received mandatory minimum

sentences prior to the Fair Sentencing Act of 2010 were entitled to resentencing
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in accordance with the new statutory thresholds. Once again, Mounts did not

receive a statutory mandatory minimum and thus is not entitled to relief.

      SO ORDERED.

      DATED THIS 29TH DAY OF JULY, 2013

                                          /s/D. Brock Hornby
                                          D. BROCK HORNBY
                                          UNITED STATES DISTRICT JUDGE




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